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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

 MARANDA LYNN ODONNELL, et                 §
 al.                                       §
 On behalf of themselves and all           §
 others                                    §
 similarly situated,                       §    CIVIL ACTION NO. H-16-1414
                      Plaintiffs,          §        Hon. Lee H. Rosenthal
                                           §
 VS.                                       §
                                           §
 HARRIS COUNTY, TEXAS, et al.,             §
                Defendants.                §

       NOTICE OF SUBSTITUTION OF JUDGES OF HARRIS COUNTY
              CRIMINAL COURTS AT LAW NOS. 1-15 AND
               NOTICE OF APPEARANCE OF COUNSEL

        Please take notice that as of January 1, 2019, the Judges of the Harris County

Criminal Courts at Law Nos. 1-15 are: Alex Salgado, Ronnisha Bowman, Erica

Hughes, Shannon Baldwin, David M. Fleischer, Kelley Andrews, Andrew A.

Wright, Franklin Bynum, Toria J. Finch, Lee Harper Wilson, Sedrick T. Walker II,

Cassandra Y. Holleman, Raul Rodriguez, David Springer, and Tonya Jones. Under

Federal Rule of Civil Procedure 25(d), they automatically succeed their predecessors

in office as Defendants in this case.
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Please take further notice that the following counsel:

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                               and

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now represent all Defendant Harris County Criminal Court at Law Judges.

                                            Respectfully submitted,



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                         CERTIFICATE OF SERVICE
       The undersigned counsel certifies that on January 2, 2018, I electronically
filed the foregoing document with the Clerk of the Court for the United States
District Court for the Southern District of Texas, Houston Division, using the
electronic case filing system of the Court and served all parties of record in that
manner.



                                       G. Allan Van Fleet
